                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:04cr271

UNITED STATES OF AMERICA       )
                               )
           vs.                 )                                      ORDER
                               )
TRACY HOWARD (1)               )
DAVID L. HOWARD (2)            )
OSCAR MARIO SOLANO-SANCHEZ (5) )
KESHIA BURRIS (6)              )
NICHOLAS RAGIN (7)             )

        THIS MATTER is before the Court on its own motion and the motion of David L.

Howard (Doc. No. 170) to continue this matter from the February 6, 2006, trial term in the

Charlotte Division.

        The defendant was originally indicted in October 2004. A Superseding Indictment was

returned in August 2005. Current counsel for the defendant was recently appointed on December

7, 2005. Although the Court is reluctant to postpone the trial of matter, the Court finds, for the

reasons stated in the defendant’s motion, that counsel has stated sufficient cause for a

continuance. The Court further finds that the ends of justice served by taking such action

outweigh the interests of the public and the defendants to a speedy trial as set forth in 18 U.S.C. §

3161(h)(8)(1). However, any additional motions to continue will be viewed with disfavor.

        The Court further finds that the other defendants’ cases are “joined for trial with a co-

defendant as to whom the time for trial has not run and no motion for severance has been

granted,” 18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends of

justice served by taking such action outweigh the best interest of the public and the defendants to

a speedy trial.


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       IT IS, THEREFORE, ORDERED, that this case as to all defendants pending for trial is

hereby continued to the April 3, 2006, trial term of Court in the Charlotte Division, and is

preemptively set as the first case to be tried during that term.



                                             Signed: January 26, 2006




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